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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

           [UNITED STATES’ PROPOSED] JUDICIAL PROTECTIVE ORDER

         Following notice and opportunity to be heard, further to paragraph 19 of the Order

  dated September 15, 2022 [ECF No. 91], and upon review of the parties’ respective judicial

  protective orders [ECF Nos. ___ and ___], it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      Introduction and Basis for Judicial Protective Order. – The Court’s Order

  appointing the special master [ECF No. 91, ¶ 5] requires the government to provide copies

  of materials seized during the August 8, 2022 execution of a court-authorized search

  warrant at the premises located at 1100 S. Ocean Boulevard, Palm Beach, Florida 33480

  (the “Seized Materials”) to the Special Master, Plaintiff’s counsel, and certain agents and

  employees. The Seized Materials are evidence in a criminal investigation case, most of

  whose details are not a matter of public record. In addition, the Court’s order [ECF No. 91,

  ¶ 5] requires the Parties to prepare logs based on and derived from the Seized Materials that

  should similarly be protected from public disclosure to facilitate the special-master-review



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  process. To preserve the confidentiality of non-public information and protect the special-

  master-review process, the Court enters this Judicial Protective Order.1

         2.      Confidentiality and Non-Disclosure of Seized Materials and Undertakings

  on Exhibit A. – The Seized Materials produced by the government are confidential and

  shall be disclosed to no one other than the Special Master, his law clerks, admitted

  Plaintiff’s counsel of record in this case (“Plaintiff’s Counsel”), staff supporting Plaintiff’s

  Counsel (such as paralegal assistants, secretarial, stenographic, and clerical employees) who

  are working on this case under the direction of Plaintiff’s Counsel and to whom it is

  necessary that the Seized Materials be disclosed for purposes of executing this Court’s

  orders, and vendors approved by the Special Master or this Court for purposes of scanning,

  hosting, reviewing or otherwise processing electronic copies of Seized Materials.

         Plaintiff’s Counsel shall provide the government with the names and job titles of any

  staff who Plaintiff’s Counsel propose to review Seized Materials at least two business days

  before Seized Materials are shown to such persons and such persons must execute the

  “Acknowledgment of Protective Order” that is attached to this Judicial Protective Order at




  1
    This Judicial Protective Order does not govern Seized Materials with classification
  markings. The government contends that Seized Materials with classification markings
  should not be provided to the Special Master or Plaintiff’s counsel and has pending before
  the United States Court of Appeals for the Eleventh Circuit an application for a stay
  pending appeal. If the Eleventh Circuit stays this Court’s order with respect to documents
  with classification markings, this Judicial Protective Order will govern Seized Materials
  without classification markings. If any classified materials will ultimately be provided to
  Plaintiff’s counsel, then the parties will propose a separate judicial protective order for the
  Court to enter concerning documents with classification markings that is similar to a
  protective order pursuant to Section 3 of the Classified Information Procedures Act, 18
  U.S.C. App. III § 3.
                                                   2
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  Exhibit A. If the government objects to disclosure during such two-day period, no Seized

  Materials may be disclosed until the government’s objection is resolved by the Court.2

         Vendors who are engaged to scan, host, provide review, or otherwise process the

  electronic copies of the Seized Materials must also sign execute the “Acknowledgment of

  Protective Order” that is attached to this Judicial Protective Order at Exhibit A.

         3.     Limitations on Use. – Plaintiff’s Counsel, their staff, and any vendors shall

  use Seized Materials exclusively in connection with the above-captioned case and not for

  any other purpose. Nothing herein shall prevent a party from using Seized Materials as

  exhibits to pleadings or otherwise, or from referring to, quoting, or reciting from Seized

  Materials in connection with pleadings or motions filed in the above-captioned case;

  provided, however, that any such Seized Materials be filed under seal or submitted to the

  Special Master or Court for in camera inspection.

         4.     Maintaining Copies of Seized Materials. – Plaintiff’s Counsel, their staff,

  and any vendors to whom the government provides Seized Materials shall maintain any

  Seized Materials produced pursuant to this Judicial Protective Order in a manner

  reasonably intended to preserve and maintain the confidentiality of the materials.

  Specifically, Plaintiff’s Counsel, their staff, and any vendors shall maintain Seized Materials

  in secure areas or on secure networks along with a copy of this Judicial Protective Order. If

  stored electronically on networks not owned by the government, Seized Materials shall be

  password-protected and the network folders in which they are stored shall be walled off

  from any individuals not directly assisting in the above-captioned case.



  2
   With respect to the Seized Materials, the government is separately bound by the Warrant
  and this Court’s order, which includes an injunction.
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         5.     Unauthorized Disclosure. – If Plaintiff’s Counsel, their staff, or any vendor

  learns that it has disclosed, inadvertently or otherwise, Seized Materials to a person in a

  circumstance not authorized under this Judicial Protective Order or any unauthorized

  access to Seized Materials otherwise occurs, the disclosing party must immediately

  (a) notify the government in writing of the unauthorized disclosures, (b) use its best efforts

  to retrieve all unauthorized copies of the Seized Materials, (c) inform the person or persons

  to whom unauthorized disclosures were made of all the terms of this Judicial Protective

  Order, and (d) request such person or persons sign the “Acknowledgment of Protective

  Order” that is attached to this Judicial Protective Order at Exhibit A.

         6.     Violations. – Violations of this Judicial Protective Order shall be punishable

  by contempt of court or any other legally available sanction that the Court deems

  appropriate. All parties to whom Seized Materials are disclosed in accordance with this

  Judicial Protective Order consent and submit to this Court’s jurisdiction for purposes of

  enforcing this order.

         7.     Further Relief. – Nothing in this Judicial Protective Order shall be construed

  as restricting any party from seeking such further relief as may be available under applicable

  law.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ___ day of

  September 2022.




                                              AILEEN M. CANNON
                                              UNITED STATES DISTRICT JUDGE


  cc:    counsel of record

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                                           EXHIBIT A

              ACKNOWLEDGMENT OF JUDICIAL PROTECTIVE ORDER

         I hereby acknowledge that I received a copy of the Judicial Protective Order issued in

  Donald J. Trump v. United States of America, Case No. 22-CV-81294-CANNON (S.D. Fla.), that

  I read and understand it, and I agree to be bound by its terms. I further understand that by

  signing this Acknowledgment, I subject myself to the jurisdiction of the United States District

  Court for the Southern District of Florida for the purpose of enforcing the terms of the Judicial

  Protective Order and punishing any violations thereof.




                                                   ____________________________
                                                   Name (Printed)

                                                   ____________________________
                                                   Signature

                                                   ____________________________
                                                   Street Address

                                                   ____________________________
                                                   City, State, and Zip Code

                                                   ____________________________
                                                   Telephone Number

                                                   ____________________________
                                                   E-Mail Address
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 20, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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